   Case 1:20-cr-00162-AJT Document 2 Filed 03/11/20 Page 1 of 11 PageID# 2




                    IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA ■ ■


                                      Alexandria Division



UNITED STATES OF AMERICA
                                                            UNDERSEAL
               V.

                                                            l:20-mj-103
DAVUD SUNGUR,

              Defendant.



AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT AND ARREST WARRANT

       I, Gordon Cummings, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.     I am a Special Agent with the United States Department of Homeland Security -

Homeland Security Investigations ("HSI"), the investigative component of Immigration and

Customs Enforcement ("ICE")- I am an investigator or law enforcement officer of the United

States within the meaning of 18 U.S.C. §2510(7), that is, an officer of the United States who is

empowered to conduct investigations and to make arrests.

       2.     I have been a Special Agent with HSI since 2010. Prior to joining HSI, I was a

Special Agent with the General Services Administration Office ofthe Inspector General from 2000

through 2010. Since 2000,1 have received training and gained experience in fundamental areas

of law enforcement, including but not limited to interview techniques, the preparation and

execution of search warrants, search and seizure procedures, and arrest procedures. Throughout

my career as a federal law enforcement officer, I have received training in and investigated cases

involving firearms violations, narcotics, money laundering, white collar crime, and other criminal

activities. In the course of conducting criminal investigations, I have interviewed confidential
Case 1:20-cr-00162-AJT Document 2 Filed 03/11/20 Page 2 of 11 PageID# 3
Case 1:20-cr-00162-AJT Document 2 Filed 03/11/20 Page 3 of 11 PageID# 4
Case 1:20-cr-00162-AJT Document 2 Filed 03/11/20 Page 4 of 11 PageID# 5
Case 1:20-cr-00162-AJT Document 2 Filed 03/11/20 Page 5 of 11 PageID# 6
Case 1:20-cr-00162-AJT Document 2 Filed 03/11/20 Page 6 of 11 PageID# 7
Case 1:20-cr-00162-AJT Document 2 Filed 03/11/20 Page 7 of 11 PageID# 8
Case 1:20-cr-00162-AJT Document 2 Filed 03/11/20 Page 8 of 11 PageID# 9
Case 1:20-cr-00162-AJT Document 2 Filed 03/11/20 Page 9 of 11 PageID# 10
Case 1:20-cr-00162-AJT Document 2 Filed 03/11/20 Page 10 of 11 PageID# 11
Case 1:20-cr-00162-AJT Document 2 Filed 03/11/20 Page 11 of 11 PageID# 12
